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                    United States Court ofAppeals
                                     FIFTH CIRCUIT
                                  OFFICE OF THE CLERK
 LYLE W. CAYCE                                                          TEL. 504-310-7700
 CLERK                                                               600 S. MAESTRI PLACE,
                                                                           Suite 115
                                                                     NEW ORLEANS, LA 70130

                                October 04, 2023


Mr. Philip Devlin
Western District of Texas, El Paso
United States District Court
525 Magoffin Avenue
Room 108
El Paso, TX 79901-0000


      No.    22-50647      USA v. Armendariz
                           USDC No. 3:21-CR-782-1


Dear Mr. Devlin,
Enclosed is a copy of the judgment issued as the mandate and                                 a
copy of the court's opinion.


                                      Sincerely,
                                      LYLE W. CAYCE,         Clerk


                                      B   .


                                      Renee S. McDonough, Deputy Clerk
                                      504-310-7673
cc:
      Mr. Charles E. Fowler Jr.
      Mr. Joseph H. Gay Jr.
      Ms. Mary Stillinger
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                                                                                             United States Court of Appeals
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                                                                                                     FILED
Certified as a true copy and issued                                                           August 29, 2023
as the mandate on Oct 04, 2023
Attest:
                                                             No. 22-50647                       Lyle W. Cayce
                 w.
Clerk, U.S. Oburt of Appea*, Fifth Circuit                                                           Clerk

                             UNITED STATES OF AMERICA,

                                                                                      PlaintffAppellee,

                                                                 versus


                             VIRGINIA ESTRADA ARMENDARIZ,

                                                                                   DefendantAppellant.


                                              Appeal from the United States District Court
                                                   for the Western District of Texas
                                                       USDC No. 3:21-CR-782-1


                             Before KING, SMITH, and ELROD, Circuit Judges.

                                                          JUDGMENT
                                      This cause was considered on the record on appeal and was argued by
                             counsel.

                                    IT IS ORDERED and ADJUDGED that the judgment of the
                             District Court is AFFIRMED.
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                                                                                  Fifth Circuit

                                                                               FILED
                                                                         August 29, 2023
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   UNITED STATES OF AMERICA,

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                                       versus

   VIRGINIA ESTRADA ARMENDARIZ,

                                                            DefendantAppellant.


                   Appeal from the United States District Court
                        for the Western District of Texas
                            USDC No. 3:21-CR-782-1


   Before KING, SMITH, and ELROD, Circuit Judges.
  JENNIFER WALKER ELROD, Circuit Judge:

          Virginia Estrada Armendariz, a lawful permanent resident of the
   United States, was charged with importation of a controlled substance in
   violation of 21 U.S.C. § 952(a). Her lawyer told her that if she pleaded guilty,
   it was "very likely" that she would be deported. She nonetheless entered the
   plea. Armendariz then learned that her offense did not just possibly make her
   deportable, it automatically did so. See 8 U.S.C. § 1227(a)(2)(B)(i). She then
   moved to withdraw her plea, alleging that if she had known the full scope of
   the immigration consequences of her plea, she would not have entered it.
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   The district court denied Armendariz's motion and sentenced her.
   Armendariz appealed.

          It is deficient performance under the Sixth Amendment for a criminal
   defense lawyer not to tell an alien client that his or her offense will have
   immigration consequences.     Padilla v. Kentucky, 559 U.S. 356, 369 (2010).

   However, the kind of warning that the lawyer must provide is not entirely
   settled. This case presents the following question: when an offense makes an
   alien presumptively deportable, does a lawyer's warning of "very likely"
   deportation satisfy the right to effective assistance of counsel?
          We hold that it does. When defense counsel tells an alien client that a
   conviction will have serious immigration consequences, including "very
   likely" deportation, that defendant has received sufficient advice to make an
   informed plea decision, as required by the Sixth Amendment. The district
   court therefore did not abuse its discretion in denying Armendariz's motion
   to withdraw her plea, and the judgment is AFFIRMED.

                                          I

         Armendariz is a 53-year-old woman who has been a legal permanent
   resident of the United States since 1994. In 2021, Armendariz responded to
   a Facebook advertisement offering $100 for her to drive clothes, shoes, and
   cash from a store in El Paso, Texas, to a store inJuarez, Mexico. Armendariz
   was suspicious that this was actually a solicitation to transport drugs, but she
   "decided to go ahead with the job and take the risk due to lack of work and
   needing money." She met the job advertisers in Mexico, who outfitted her
   truck with a GPS tracker and told her to drive to El Paso to pick up the
   inventory that she would then bring back to Mexico.
          When Armendariz attempted to cross the border and reenter Texas, a
   United States Customs and Border Protection narcotics-detecting dog
   alerted to the presence of drugs in Armendariz's truck. The officers




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   inspected the truck and found many bundles of marijuana hidden in the hood,
   engine, front doors, back seat, and tailgate.

         Armendariz was charged in the Western District of Texas with
   knowingly and intentionally conspiring to import 43.9 kilograms of
   marijuana. Armendariz initially pleaded not guilty.

          However, Armendariz later decided to enter a guilty plea as to count
   one, importation of a controlled substance in violation of 21 U.S.C. § 952(a).
   Before Armendariz entered the plea, she discussed the issue of immigration
   consequences at length with the magistrate judge (as required by Federal
   Rule of Criminal Procedure 11). The magistrate judge told her, "Very
   unfortunately, there's immigration consequences that take place if you plead
   guilty." He then listed a litany of immigration-related ramifications,
   including (1) likely deportation, (2) very likely deportation, (3) not being
   allowed to stay in the United States, (4) prison time for illegal reentry after
   deportation, (5) denial of U.S. citizenship, and (6) possible relief from an
   immigration judge. He asked Armendariz whether she understood these
   consequences and whether she had discussed them with her attorney. She
   said yes to both questions.

           The plea agreement, which Armendariz said she understood, also
   specifically covered the "immigration consequences of conviction." Listed
   in its own bolded, underlined, and all-caps heading on the second page of the
   agreement, the immigration-related portion of the plea noted, among other
   things, that:

          "Defendant recognizes that pleading guilty may affect
          Defendant's immigration status if Defendant is not a citizen of
          the United States";
          "Under federal law, a broad range of criminal offenses warrant
          removal from the United States, the denial or cancellation of
          certain immigration benefits, and/or denaturalization,



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         including the offense(s) to which Defendant has agreed to
         plead guilty pursuant to this Plea Agreement";
         "Defendant's offense(s) of conviction presumptively
         require(s) the removal of a defendant who is not a U.S.
         Citizen"; and
         "Defendant nevertheless affirms that Defendant wants to
         enter a plea of guilty, regardless of any immigration or
         naturalization consequences that may result from the guilty
         plea and even if those consequences include Defendant's
         removal from the United States or denaturalization."
          Despite receiving these warnings, Armendariz stated that she
   understood the agreement and entered the plea. The district court judge
   accepted it. Two months later, Armendariz's counsel withdrew, and the
   attorney that is currently representing her substituted in.
          Under the advice of her new counsel, Armendariz moved to withdraw
   her guilty plea. Armendariz alleged in her motion that she had not realized
   when pleading guilty that she was pleading to an "aggravated felony" that
   would make her automatically deportable. 8 U.S.C. § 1227(a)(2)(A)(iii).
   And she argued that under Supreme Court and Fifth Circuit precedent,
   "when the deportation consequence [of a guilty plea] is truly clear, . . . the
   duty to give correct advice is equally clear." United States v. Urias-Marrufo,
   744 F.3d 361, 366 (5th Cir. 2014) (quoting Padilla, 559 U.S. at 369).

          Arrnendariz said that although the lawyer representing her at the time
   of the plea agreement had warned her that there would be immigration
   consequences, he had not accurately characterized the gravity of those
   consequences. Armendariz alleged that at the time of agreeing to the plea,
   she had been under the false impression that she could at least fight to keep
   her lawful permanent resident status after the criminal case resolved.
   Armendariz believed this because her prior attorney had referred




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   Armendariz's daughter to an immigration lawyer, and the immigration
   lawyer had told Armendariz's daughter that she could represent Armendariz
   when the criminal case was resolved.

         The district court denied Armendariz 's motion to withdraw her guilty
   plea. After hearing arguments, the judge announced his findings from the
   bench. The judge's full statement was:

                  The actual holding in Padilla says there is a duty that, in
            essence and I'm paraphrasing there is a duty that cannot be
            saved at the plea colloquy for the defendant to affirmatively
            stateaffirmatively state that discussions were had with
            defense lawyer about the consequences of the plea of guilty.
                   Ms. Armendariz unequivocally stated that she had those
            discussions with her lawyer. And this is not a casereading
            the transcript of the proceedings before Judge Castaneda, he
            did exactly what he was supposed to do. He wasn't saving the
            case for [Armendariz's counsel at the plea stage]. He simply
            asked, This may happen, and he stated that to her. Are you
            aware of that? Yes. Did you discuss that with your lawyer?
            And she unequivocally said yes. That's the Padilla duty.
                    So I'm finding that, based on the evidence before the
            Court, that [Armendariz's counsel] by Ms. Armendariz' own
            words informed her that there would bethat there were likely
            to bethere could be immigration consequences to her plea of
            guilty, and the judge simply confirmed that in his plea colloquy.
            So the motion to withdraw the plea of guilty is denied.

          The district court then sentenced Armendariz to three years'
   probation. Armendariz timely appealed.

                                           II

          We review the denial of a motion to withdraw a guilty plea for abuse
   of discretion. United States v. Urias-Marrufo, 744 F.3d 361, 364 (5th Cir.
   2014).     "A district court abuses its discretion if it bases its decision on an



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   error of law or a clearly erroneous assessment of the evidence." Id. (quoting
   United States v. Mann, 161 F.3d 840, 860 (5th Cir. 1998)). The denial of a

   motion to withdraw a guilty plea that is based on a theory of ineffective
   assistance of counsel is reviewable on direct appeal, not just in collateral
   proceedings. Id. at 367.

                                         III

        When negotiating a plea, a defense lawyer's "failure to advise a lawful
   permanent resident alien of likely deportation implicates the Sixth
   Amendment right to effective assistance of counsel." United States v.
   Kayode, 777 F.3d 719, 723 (5th Cir. 2014) (first citing Padilla v. Kentucky, 559

   U.S. 356 (2010); and then citing Strickland v. Washington, 466 U.S. 668
   (1984)). ThisPadillaviolation, if proven during a motion to withdraw a guilty
   plea, "compels the court to permit the defendant to withdraw the guilty
   plea." Urias-Marrufo, 744 F.3d at 369.
          In absence of satisfying Padilla's bright-line rule, a defendant may
   withdraw a guilty plea if he or she "can show a fair and just reason for
   requesting the withdrawal." Fed. R. Grim. P. 11(d)(2)(B). In our circuit, this
   Rule 11 standard is evaluated under a seven-factor balancing test. United
   States v. Carr, 740 F.2d 339, 343-44 (5th Cir. 1984). The district court
   specifically and carefully discussed these factors during the hearing on
   Armendariz's motion, and the district court did not abuse its discretion in
   finding that Armendariz had not satisfied them.

                                          A

          Padilla is a gloss on Strickland's familiar two-part standard for
   evaluating claims of ineffective assistance of counsel. Under Strickland, the
   court first asks whether counsel's representation "fell below an objective
   standard of reasonableness." Strickland, 466 U.S. at 688. If so, we then ask
   whether this deficiency prejudiced the defendant. Id. at 693.



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                                                 1


           Padilla holds that prong one is satisfied if, during plea negotiations,
   the defense lawyer does not inform the defendant "whether his plea carries
   a risk of deportation." Padilla, 559 U.S. at 374. Specifically, the Court stated
   that "when the deportation consequence is truly clear, . . . the duty to give
   correct advice is equally clear." Id. at 369. Prong two is satisfied if the
   defendant can demonstrate a "reasonable probability that, but for {his]
   counsel's errors, he would not have pleaded guilty and would have insisted
   on going to trial." Lee v. United States, 582 U.S. 357, 371 (2017) (alteration
   in original) (quoting Hill v. Lockhart, 474 U.S. 52,59 (1985)).

          There is some ambiguity about what specific words Armendariz's
   lawyer used when explaining to her the immigration consequences of the
   plea. But the district court's factual findingwhich is reviewed only for
   clear errorsuggests the following bottom line: Armendariz's lawyer put her
   on notice of the risk of serious immigration consequences, including
   deportation.' The actual legal result of Armendariz's plea is that she is
   mandatorily       deportable.           See       8   U.S.C.     §    1227(a)(2)(A)(iii);2




            'The district judge seemed to incorporate by reference the magistrate judge's plea
   colloquy into the factual findings made in denying the motion. But when the magistrate
   judge asked in his colloquy if Armendariz had discussed "these consequences" with her
   attorney, this would seem to include all of the following consequences that the magistrate
   judge had listed just beforehand: (1) likely deportation, (2) very likely deportation, (3) not
   being allowed to stay here, (4) prison time for illegal reentry if deported, (5) denial of U.S.
   citizenship, and (6) possible relief from an immigration judge. The ambiguity between
   those conflicting consequences is perhaps made starker by the fact that Armendariz
   participated in the proceeding through a Spanish-language interpreter.
           2
            Making deportable any alien convicted of an "aggravated felony," where that
   term is defined to include "illicit trafficking in a controlled substance," 8 U.S.C. §
   1101(a)(43)(B).
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   8 U.S.C.    1227(a)(2)(B)(i).3 This raises the question of whether the lawyer
   provided Armendariz with "correct advice" about a clear immigration
   consequence, as Padilla requires. Padilla, 559 U.S. at 369.
          We hold that he did, for two reasons. First, even if Armendariz's
   lawyer's advice could have been more accurate, his warning about
   immigration consequences still went far and beyond what the lawyers in
   Padilla and its progeny told their clients. And second, it may have been
   correct for Armendariz's counsel to say that deportation was "very likely"
   as opposed to "certain."

                                              a

          The message that Armendariz's lawyer communicated to her,
   regardless of the particular words used, was not at all like what the lawyer in
   Padilla told his client. Like this case, Padilla involved a lawful permanent
   resident who became deportable after pleading guilty to transporting a large
   amount of marijuana. Padilla, 559 U.S. at 359 & n.1. But Padilla's lawyer
   "not only failed to advise him of this consequence prior to his entering the
   plea," the lawyer "also told him that he 'did not have to worry about
   immigration status since he had been in the country so long." Id. at 359
   (citation omitted).
          The advice provided in Padilla was not just an understatement of the
   consequences, as Armendariz contends was the case with her advice.
   Padilla's lawyer was flat-out wrong. Telling Padilla not to worry about his
   immigration status did more than fail to put Padilla on notice. It affirmatively
   misled him. By contrast, Armendariz's lawyer at least warned her of "very



            Making deportable any alien convicted of a controlled-substance offense, "other
   than a single offense involving possession for one's own use of 30 grams or less of
   marijuana." 8 U.S.C. § 1227(a)(2)(B)(i).




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   likely" deportation, which would not have provided Armendariz with the
   same false sense of security that Padilla was given.

          The Supreme Court's most-recent examination of Padilla also shows
   that Armendariz's lawyer's advice was different in kind from that provided
   by constitutionally deficient counsel. In Lee v. United States, 582 U.S. 357
   (2017), a lawful permanent resident pleaded guilty to an offense that made
   him automatically deportable after his lawyer told him that "the Government
   would not deport him if he pleaded guilty." Lee, 582 U.S. at 360.

          Our court's cases have held similarly. In United States v. Kayode, 777
   F.3d 719 (5th Cir. 2014), a naturalized citizen pleaded guilty to a deportable
   and naturalization-stripping offense because "his attorneys never warned
   him prior to his sentencing hearing that he could lose his citizenship. . . and
   never indicated that [he] might be deported." Kayode, 777 F.3d at 723. And
   in United States v. Urias-Marrufo, 744 F.3d 361 (5th Cir. 2014), an alien
   subject to presumptive deportation after pleading guilty had discussed only
  "the possible adverse immigration consequences of pleading guilty." Urias-
  Marrufo, 744 F.3d at 369; see also id. at 368 ("Urias correctly argues that,
  under Padilla she was required to be advised of the certain deportation
  consequences of her plea prior to her plea hearing.").
           To summarize: The Lee lawyer gave affirmatively wrong advice ("no
   deportation"). The Kayode lawyer gave no advice. And the Urias-Marrufo
   lawyer gave weak or middling advice ("possible immigration
   consequences"). None of those scenarios resemble the conversations that
   Armendariz had with her lawyer. On the most coherent reading of the
   district court's factfinding, Armendariz's lawyer (as well as the magistrate




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   judge and the plea agreement) warned her that her deportation would be very
   likely if she pleaded guilty to importing marijuana.4

          The teaching of Padilla is "how critical it is for counsel to inform her
   noncitizen client that he faces a risk of deportation." Padilla, 559 U.s. at
   373-74; see also Urias-Marrufo, 744 F.3d at 369 (Garza, J., specially
   concurring) (explaining why Padilla does not clearly require "counsel to
   advise that deportation is a certain consequence of a guilty plea").
   Armendariz's lawyer did more than that. He put Armendariz on notice that
   she faced the "very likely" risk of deportation. If maintaining her
   immigration status was dispositive in deciding whether to take the plea,
   Annendariz had ample warning to inquire more about that risk.




           4Armendariz's lawyer also referred Armendariz to an immigration attorney. This
   could give rise to the inferencethough not one argued for by the United Statesthat
   Armendariz 's lawyer satisfied his Padilla duty through delegation to a subject-matter
   expert. However, we have said that the objectively reasonable assistance prong of Padilla
   is concerned with "whether the defendant was informed by the defendant's counsel" of the
   relevant immigration consequences. Urias-Marrufo, 744 F.3d at 369.
           Our prior holdings that immigration consequences must be relayed by the defense
   lawyer him or herself comports with how Justice Alito contemporaneously interpreted the
   Padilla majority opinion. Padilla, 599 U.S. at 375 (Alito, J., concurring in the judgment)
   (taking the position that referrals to immigration lawyers would satisfy prong one of
   Strickland, but noting that the majority opinion "nevertheless holds that a criminal defense
   attorney must provide advice in this specialized area").
            And the Supreme Court has more recently noted that immigration-related
   warnings that are provided by people other than the defense lawyer may be more relevant
   to the second prong of the analysis (prejudice) than to the first prong (fulfillment of duty).
   See Lee v. United States, 582 U.S. 357, 369 n.4 (2017) ("Several courts have noted that a
   judge's warnings at a plea colloquy may undermine a claim that the defendant was
   prejudiced by his attorney's misadvice." (citing, among other cases, United States v.
   Kayode, 777 F.3d 719, 728-29 (5th Cir. 2014))).




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          The analysis in the immediately preceding section is based on the
   premise that it was technically inaccurate for Armendariz's lawyer to tell her
   that removal was only "very likely," when she would in fact be facing
   presumptive deportability. That premise may not be true. After all, an
   alien's being made certainly deportable is not the same as being certainly
   deported. The Seventh Circuit noted in 2016 that "not all aliens convicted of
   aggravated felonies are deported." United States v. Chezan, 829 F.3d 785,
   787 (7th Cir. 2016). This is because some of them "are overlooked by
   overworked immigration authorities and.. . some of them successfully plead
   deferral or withholding of removal because there is a serious risk of their
   being tortured or killed if returned to their country of origin." Id. Falling
   within one or more classes of deportable aliens does not categorically
   eliminate the availability of asylum relief or protection under the Convention
   Against Torture. See Efe v. Ashcroft, 293 F.3d 899, 903 (5th Cir. 2002).
   Armendariz' s counsel could not have made a definitive statement about
   Armendariz 's chances of removal without analyzing the applicability of all
   other forms of relief.
           The Supreme Court made a similar point this year in United States v.
   Texas, 143 S. Ct. 1964 (2023). In that case, the Court held that Texas and
   Louisiana lacked standing to challenge the federal government's decision to
   arrest fewer criminal noncitizens pending their removal because the
   Executive Branch "retains discretion over whether to remove a noncitizen
   from the United States." Id. at 1972. And Secretary of Homeland Security
   Mayorkas 's new immigration-enforcement guidelines would deprioritize
   arresting people like Armendariz, who are not "suspected terrorists or
   dangerous criminals, or who have unlawfully entered the country only
   recently." Id. at 1968; see also id. at 1989 (Alito,J., dissenting) ("The Court
   holds Texas lacks standing to challenge a federal policy that inflicts




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   substantial harm on the State and its residents by releasing illegal aliens with
   criminal convictions for serious crimes.").

           Whether Armendariz's becoming deportable would certainly lead to
   her removal from the country involves not only what the relevant statutes
   say. It also depends on what the Executive Branch's current enforcement
   priorities are. For a lawyer to provide his or her client an answer with 100%
   certainty in the face of these shifting and hard-to-predict factors might not be
   accurate. Saying merely "very likely" could be closer to the truth.

                                   *        *         *



          Armendariz's lawyer provided objectively reasonable representation.
   Even assuming arguendo that a warning of serious immigration consequences
   and "very likely" deportation was not perfectly accurate advice, it still
   performed the advocacy function that Padilla demands: putting noncitizen
   clients on notice that their conviction could have an important impact on
   their immigration status. And it is not clear that such advice is inaccurate,
   given the complex and discretionary factors underpinning the relationship
   between being deportable and being deported. Either way, Armendariz
   received the effective assistance of counsel that the Sixth Amendment
   guarantees her.
                                            2

          Because Armendariz received effective assistance of counsel, we do
   not reach Strickland's second prong. If there was no constitutionally
   deficient performance by the attorney, then there can be no prejudice
   resulting from constitutionally deficient performance.


          Although we hold that there was no Padilla violation, we must still
   review the district court's Rule 11 analysis. Under Rule 11 of the Federal




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   Rules of Criminal Procedure, "[a] defendant may withdraw a plea of guilty
       after the court accepts the plea, but before it imposes sentence if. . . the
   defendant can show a fair and just reason for requesting the withdrawal."
   Fed. R. Crim. P. 11(d)(2)(B). This court has provided a multi-factor
   balancing test for determining whether fairness and justice support granting
   a defendant's request to withdraw:

          (1) whether or not the defendant has asserted his innocence;
          (2) whether or not the government would suffer prejudice if the
          withdrawal motion were granted; (3) whether or not the
          defendant has delayed in filing his withdrawal motion; (4)
          whether or not the withdrawal would substantially
          inconvenience the court; (5) whether or not close assistance of
          counsel was available; (6) whether or not the original plea was
          knowing and voluntary; and (7) whether or not the withdrawal
          would waste judicial resources.
   United States v. Carr, 740 F.2d 339, 343-44 (5th Cir. 1984) (footnotes
   omitted).
           The district court has broad discretion in evaluating these factors.
   Urias-Marrufo, 744 F.3d at 364-65 ("We find at the outset that the district
   court did not abuse its broad discretion with respect to its findings on the
   other five factors, and we turn our attention to her critical points."). As such,
   we turn our focus to the factors that were actually disputed by the parties:
   whether Armendariz received close assistance of counsel and whether the
   original plea was knowing and voluntary. The district court did not abuse its
   discretion in finding that both were satisfied.
          As to the first factor, the "knowing and voluntary" analysis is
   "inextricably tied" to the ineffective assistance of counsel claim. Id. at 365.
   As such, much of the previous Padilla discussion can be imported into our
   Rule 11 analysis. The district court's careful examination of the issue was a
   proper application of its discretion.



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           The second factorwhether a defendant received close assistance of
   counselrequires more examination because it "is distinct" from the
   effective assistance of counsel analysis under the Sixth Amendment. Id.
   "Counsel's assistance may be close without being effective." Id. at 366. We
   have "previously found that close assistance of counsel was available where
   counsel negotiated a plea agreement, filed motions, discussed the case with
   the defendant, and explained the defendant's rights and the weight of the
   evidence." United States v. Strother, 977 F.3d 438, 445 (5th Cir. 2020). The
   same is true "where counsel was available throughout the proceedings and
   the defendant expressed satisfaction with counsel." Id.
         Most of these points apply here. During her plea colloquy with the
   magistrate judge, Armendariz stated that her lawyer had translated the plea
   agreement and explained it to her, had discussed the sentencing guidelines'
   application to her case, and that she was satisfied with the assistance she had
   received from her lawyer. Under this court's precedent, that likely means
   Armendariz received close assistance of counsel, even assuming arguendo
   that the assistance of that counsel was ineffective as to warning of the
   immigration consequences of the plea.
          The district court's detailed attention to the Rule 11 factors during the
   hearing suggests that the court did not abuse its discretion in finding the
   factors to be satisfied.
                                   *        *         *



           The district court did not abuse its discretion in denying
   Armendariz's motion to withdraw her guilty plea. First, Armendariz's
   counsel provided her with effective assistance under Padilla. Second, the
   district court properly evaluated the Rule 11 factors for withdrawing a plea.
   We therefore AFFIRM.




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